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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
CASE NO: 21-cr-20184

Plaintiff,
HON. SHALINA D. KUMAR
Vv. United States District Judge
MICHAEL FRALEY, JR., HON. CURTIS IVY, JR.
a/k/a “Sarge,” United States Magistrate Judge
Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT OF INFORMATION

 

I, Michael Fraley, Jr., defendant in the above-entitled cause, hereby
acknowledge that I have received a copy of the information in this cause prior to
pleading thereto, and I have read the same and understand its contents. I waive its
being read aloud in open Court.

I know that if 1 am convicted or plead guilty, I may be sentenced as follows:

Count 1: Imprisonment for a minimum of 5 years and a maximum of 40

years, to be followed by a term of supervised release of at least 4
years, and/or a fine of not more than $5,000,000.

Dated: q ze |aver Ulett (tthe
/

MICHAEL FRALEYIR.

Defendant
Case 4:21-cr-20184-SDK-CI ECF No. 90, PagelD.371 Filed 09/20/22 Page 2 of 2

ACKNOWLEDGMENT OF DEFENSE COUNSEL
T acknowledge that I am counsel for defendant and that I have received a copy
| pre-trial

of the Standing Order for Discovery and Inspection which requires al

motions to be filed within twenty (20) days of arraignment.

ne. Spelnon, SAK,

HENRY SCHARG
Attorney for Defendant
